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IN THE UNITED STATES DISTRICT C()URT
FOR 'I`HE NORTHERN DISTRICT {)F ILLINOIS

IN RE AMERIQUEST MORTGAGE CO. ME:)L No. 1715
MORTGAGE LEND[NG PRACTICES

 

LITIGATlON Lead Case No. 05~cv~0709'7

(Centraiized before The Honorable Marvin E.
THIS DGCUMENT RE__LATES 'I`O ALL Aspen)
ACTIONS

 

DEFENDANTS’ S'I`ATUS CGNFERENCE STATEMENT
Defendants Anieriquest Mortgage Company (“Arneriquest”}, Arneriquest Capital
Corporation and Argent Mortgage Coinpany, LLC (collectively, “Defendants”) submit this
statement to provide a procedural and substantive background to the Court in advance of the

February '7, 2006 status conference

I. SUMMARY ()F PROCEEDINGS

The present status conference appears to have been precipitated by a Motion for
Provisional Class Certification and Motion for Prelirninary Injunction (togeiher, “Motions”) filed
by certain plaintiffs in three of the five cases (coilectiveiy, “Piaintiffs”) that thus far have been
transferred to this Court. These Motions highlight the fact that this Muitidistrict litigation
(“MDL”) proceeding is in its infancy and that any substantive action should be stayed until the
scope of this MDL proceeding is determined and preliminary case management issues have been
resolved

As the Conrt certainly is aware, on Deceinber 13, 2005, the MDL Panel (“Panel”) issued
an Order transferring five separate class actions against one or more I)efendants to this Conrt

pursuant to 28 U.S.C. Section 1407 for coordinated or consolidated pretrial proceedings (“MDL

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'l`ransfer Order”).z The MDL Transfer Order is attached hereto as Exhibit l for ease of
reference Shortly thereafter, the Panel identified seven other related class actions against
Arneriquest and other defendants as potential “tag-along” or related actions under consideration
for transfer2 A copy of a facsimile received by Defendants’ counsel from the Clerk of the Panel
on Febrnary l, 2006, setting forth a list of cases under consideration for inclusion in this
proceeding is attached hereto as Exliibit 2. fn addition, pursuant to its obligations under the
Rnles of Procedure of the ludicial Panel on Multidistrict Litigation, Defendants have advised the
Panel of an additional 54 potential “tag-along” cases Which may ultimately be included in this
proceeding as Well. A copy of Defendants’ connsel’s correspondence excluding exhibits,
identifying these potential “tag-along” cases is attached hereto as Exhibit 3. As indicated in
Exhibit 3, Det`endants still are in the process of identifying additional potential “tag»along” cases
and believe that a few more cases rnay be identified Plaintii`fs also have designated at least one
potential “tag along” case.

The Panei has not ruled, or even issued Conditional Transt`er Orders, in connection With
any of the potential “tag-along” cases identified by the Panel or by the parties Accordingly, the
number and identity of the cases and issues that ultimately Will be transferred to this Conrt is
wholly uncertain at this titne.

Furtherniore, the Panel did not rule as to Whether those actions identified in the MDL
Transfer Order ~ let alone those under consideration for transfer - are to be consolidated or
coordinated for pretrial purposes Rather, the MDL 'l`ransfer Order expressly provides that
actions are transferred to this Conrt for “coordinated or consolidated pretrial proceedings,” as to
be determined by this Cotirt. [See Ex. l.} Understandably, given the unsettled scope of the
MDL proceeding, the Colirt has riot yet ruled in this regard, or otherwise resolved any case

management issues

 

l The five actions are: Chery£ Williams, er al. v. Ameriqnest Mortgage Company, Sonthern District of
New York, Case No. 1205-6189; La Tonya Wz`llt`ams, et al. v. Ameriqu.est Mortgage Company, et al.,
Middle District of Florida, Case No. 8:05-i036; lsabelie M. Murpky, et al. v. Amerz'quesr Mortgage
Company, District of Massachusetts, Case No. 1104~]_2651; Nona Knox, et al4 v. Amerz‘quest Morrgage
Company, er al., Northern District of California, Case No. 3:05-240; Adofph Peter Kurz Burggmjffv.
Ameriquest Capiral Corp., Centrai District ot` California, Case No. 2;04-97l5.

2 One of the cases identified, Jackson, et al. v. Ameriquest Mortgage Co., et al., Northem Dt`strict of
lllinois, Case No. l-05-5614, vvas the subject of a Motion for Relatedness that Was denied by this Conrt.
The matter was subsequently dismissed on lannary 20, ZGOG, without leave to amend

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Moreover, much of this MDL proceeding has been, or will be, resolved by the recent
settlement between Ameriquest and the State Attorneys General of each of the 49 states in which
Arneric§uest has done business over the last six years (“AG Settlernent”). The AG Settlement,
which was publicly announced on lanuary 23, 2006, resolves all claims by borrowers in the 49
states regarding the lending practices of Arneriquest and its related entities, including claims
relating to the failure to provide the requisite disclosures to borrowers and the closing of loans
A copy of the official press release is attached hereto as Exhibit 4. Pursuant to the AG
Settlement, $295,0(}0,000 in restitution will be provided to borrowers who opt to participate in
the settlement3 Each such borrower will sign a broad release of liability in exchange for a share
of the restitution

lt is clear that counsel for Plaintiffs in at least some of the transferred actions are hoping
to reduce participation in the AG Settiement. ln fact, Delendants’ counsel is informed that the
firms of Lieff Cabraser Heirnann & Bernstein, LLP and Roddy Klein & Ryan issued their own
press release in which they expressed concern that the AG Settlernent “will not resolve all claims
of consumers alleged in various private actions against Ameriquest, including at least twelve (12)
pending class actions.” {See http://www.lieffcabraser.corn/press_releases/ameriquest_(ll .htm.l
This statement, however, is patently wrong. The AG Settlement will result in a release of
Airieriquest for most, if not all of the claims at issue before this Court. {See Ex. 5 (attaching a
copy of the relevant pages of the AG Settlernent Agreement).]

Based on the foregoinv, Defendants respectfully request that no substantive action be
taken in this matter until the Panel rules on whether the potential “tag~along” cases should be
included in this MDL proceeding, thereby allowing the Court to determine the scope of the
claims at issue. To this end, Defendants request a continued status conference to an appropriate

future date convenient to this Court’s calendar

II. PENDING MOTIONS

A. The Motions

By their Motion for Class Certification, Plaintiffs seek conditional certification of two
classes of borrowers of Arneriquest who allegedly received (l) a Notice of Right to Cancel

(“NOR'l`C”) in which the date of expiration of the right to cancel was left blank, or (2) an

 

3 Pursuant to the AG Settlement, the total settlement amount is $325,0{)0,00{}.

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incorrect form of NORTC because their loan paid off a prior loan with Ameriquest. One of the
classes purports to include all borrowers nationwide who entered into non-purchase money
residential mortgage loans with Ameriquest on or after July l, 2002 (“Class”); the other purports
to be comprised of borrowers who entered into non-purchase money residential mortgage loans
With Ameriquest in Massachusetts on or after Novernber 3, 2000 (“Subclass”).

Both the Class and Subclass are based on the contention that provision of an incomplete
NORTC and/or a NORTC in the wrong form violates the 'l`ruth in Lending Act, l5 U.S.C.
Section 1601, er seq. (“TlLA”), and entitles each borrower to an “extended” right to rescind their
loan.4 By their Motion for Prelirninary Injunction, Plaintiffs seek a mandatory preliminary
injunction pursuant to which a notice is sent to all class rnernbers advising them that they have,
or that they might have,5 a right to cancel their loan and a corresponding 30-day stay of any
pending foreclosure sales.

To the extent that the Court sets a briefing schedule as to the Motions, Ameriquest
respectfully requests 60 days to file its oppositions Upon a brief review of the l\/lotions,
however, Arneriquest is compelled to highlight the following patent deficiencies thereiu:

(l} 'l`he Motions are premature and presumptuous. The Motions were filed less than
three Weelts after this multidistrict litigation was established and before the Panel had a chance to
rule on the “tag along” cases. Further, this Court has not yet determined the status of the cases
upon transfer (z`.e., whether they should be consolidated or coordinated). l\levertheless, Plaintiffs
and their counsel have determined, without the Court’s input or order, that the transferred actions
are consolidated (hence, the filing of singular Motions covering all cases), Pl_aintiffs’ counsel
should be “lead counsel” and the Court should rule on discrete class certification and injunctive
relief issues before any other issue. These decisions arc decisions to be rnade by this Court after

all matters and parties are before it and not by some of the Plaintiffs and their counsel6

 

4 ’l`he Subclass also seeks relief only under 'I`ILA, and supposedly is meant to account for Massachusetts
law that extends the right to rescind to four years. Massachusetts’ residents, however, may not sue for
rescission under TILA, but rather can only seek such relief under Massachusetts law. See 48 Fed. Reg.
14882, 14890 (1983) (exernpting credit transactions subject to several state laws, including
l\/lassachusetts, from TlisA’s rescission provisions).

5 Plaintiffs’ motion is entirely unclear as to the language they are requesting be set forth in the notice

6 Plaintiffs offer no justifiable reason for this Court to rush to judgment on weighty issues of class
certification and mandatory injunctive relief. While Plaintiffs contend in their Motion for Class
Certifrcation that “time is of the essence for class members to exercise their rights,” no Plaintiff ever

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(2) The Motions improperly seek an advisory opinion of this Court. None of
Plaintiffs’ Compiaints in the underlying cases seeks certification of the classes they seek to
certify in the Motion.7 Therefore, any ruling by the Court on the Motion Would inform the
parties of its thoughts as to hypothetical claims and a nonexistent controversy, a result that the
Constitntion plainly forbids. U.S. Corist., Art. 3, §2, cl. l; Charhas v. Local 134 Inr’l Broth. of
Elect. Workers, 233 F.3d 508, 512 (7th Cir- 2000).

(3) The relief requested by Plaintiffs is unavailable as a matter of law. This Court
and other federal courts consistently have held that TILA does not permit class actions seeking
rescission, Whether declaratory or not. See, e.g., fumes v. Home Cr)nst. Cc). ofMobiie, Inc., 621
F.2d 727, 730MBl (Sth Cir. 1980); Gibbons v. Interbank Funding Gmnp, 208 F.R.D. 278, 285-86
(N.I). Cai. 2002); Je]j”erson v. Security Pac. Fin. Servs., Inc., 161 F.R.D. 63, 69 (N.D. Ili. 1995);
Nelson v. Uriited Crediz‘ Plan, Inc., 77 F.R.D. 54, 58 (E.D. La. 1978); Murfy v. America’s Morrg.
Banc, Inc., No. 03 C 5811, 03 C 6186, 2005 WL 1323364, at *10~11 (N.D. lll. l\/lay 5, 2005).

(4) Class certification is inappropriate because resolution of Plairitiffs’ claims on a
class basis will require the Court to analyze in detail each class member’s transaction with
Ameriquest. Arnong other things, the Court will have to determine whether each class member
even has standing to pursue a rescission claim against Arneriquest, as TILA requires a borrower
to demand rescission from the lender and allow the lender twenty days to respond to the demand
prior to filing suit. 15 U.S.C. §§ 1635(a) & (b); see Jejj“ersc)n v. Security Pac. Fin. Servs., 162
F.R.D. 123, 126 (N.l). lll. 1995) (“{T]he notice and waiting period prescribed by Section 1635(b}
must be satisfied before this Court can conclude that a class member has standing.”). Similariy,
the Court must reach the merits of each borrower’s claim in order to determine whether the
borrower is within Plaintiffs’ putative classes because mere receipt of an incomplete NOR'I`C
and/or one in an incorrect form does not amount to a TILA violation At best, it creates a case»
by-case dispute of facts regarding Whether, inter alia, each borrower: (a) Was entitled to receive

notice of his or her rescission rights; (b) also received a completed NORTC and/or one in the

 

sought certification of a TILA rescission class prior to transfer. Plaintiffs certainly have had sufficient
time to do so. Murphy, for example, was filed in December 2604.

7 Plaintiffs cannot amend their Cornplaints through the Motions. See Ausron v. Schubnel£, l 16 F.Bd 251,
255 (7th Cir. l99’7) (holding that a complaint cannot be amended by a iater-filed brief).

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correct forrn',g and/or (c) otherwise received clear and conspicuous disclosure of his or her
rescission rights See, e.g., Rodash v. AIB Mortg. Co., 16 P.Bd 1142, l l46 (l lth Cir. l994)
(“determination of clear and conspicuous notice of rescission rights under TlLA is intensely fact-
base ”); accord Sm:.`th v. Highland Bank, IOS F.?)d 1325, 1327 (1lth Cir. l997) (holding that
judging a lender’s compliance with the rescission notice provision is not mechanical and
involves scrutinizing the totality of the circumstances); see also Gibbons, 208 F.R.D. at 287
(refusing to certify class based on purported provision of H-9 form instead of H-S forrrr, “The
relevant inquiry is not the number on the form received by each borrower - it is whether the
language in the form adequately informs the recipient of his/her rights.”). "l`hese and other
individual inquiries required to resolve Plaintiffs’ claims on a class basis would render this action
completely unmanageable

(5) Plaintiffs seek a disfavored mandatory injunction that will disrupt ~ not maintain
- the status quo. lucassagne v. Chapuis, l44 U.S. ll9, 124 (1892); see also, Illinois Bell Tel.
Co. v. Wor£dcom Techs-., Inc., 157 F.Sd 500, 503 (7th Cir. l998). An injunction cannot be used
to redress a wrong that has allegedly already been committed Id. Here, the parties’ rights are
already established - either each purported class member has a right to rescind his or her loan, or
he or she does not have that right Whether or not that right exists depends on whether or not
Arneriquest previously gave a proper notice of right to rescind. Wbile the propriety of notice
will have to be tried individually as to each purported class member, nothing in the notice
required by Plaintiffs will affect whether that right exists 'l`hus, Plaintiffs are not trying to
maintain the status quo, but rather are trying to redress alleged past wrongs by sending an
unspecified notice that is likely to confuse borrowers as to what their rights actually are.

(6) Plaintiffs do not, and cannot, meet their burden of establishing a reasonable
likelihood of success on the merits of the underlying claim because, inter alia, they: (a) fail to
offer a shred of admissible evidence to support the merits of their claim, but rather submit
declarations of counsel that consist of nothing more than inadmissible hearsay; and (b) even if

they prevail on the merits, they cannot obtain the relief they seek since TlLA does not afford the

 

8 In the short time since receipt of the Motions, Ameriquest has determined that nearly all of the
borrowers identified by Plaintiffs in their supporting papers who supposedly did not receive a properly
completed NORTC actually received a fully compliant NORTC and acknowledged this fact in writing
Arneriquest provided these documents to Daniel Blinn, one of the attorneys who has submitted a
declaration in support of the Motions.

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remedy Plaintiffs are seeking See Boucher v. School Bd. ofGreenfield, 134 F.?)d. 821, 823 (7tl1
Cir. l998) (“A preliminary injunction is an extraordinary and drastic remedy, one that should not
be granted unless the movant, by a clear showing, carries the burden of persuasion”); Borbecue
Marx, Inc. v. 551 Ogden, Inc., 235 F.Bd l041, l04~4 (7th Cir. 2000) (“A preliminary injunction is
a very serious remedy, never to be indulged in except in a case clearly demanding it.”) (citation
and internal quotation marks omitted).

(?) P]aintiffs cannot establish that there is no adequate remedy at law because 'l`l:LA
itself offers a multitude of remedies for its violation See l5 U.S.C. §§ 1635 & 1640. No
irreparable harm will result in the absence of the injunction Plaintiffs seek because both TlLA
and each borrower’s state laws provide an abundance of due process before a foreclosure sale
can be held. See id.; see also, Cal. Coa'e Civ. Pro. §§ 29240 & 2924f, et seq. (requiring at least
110-days notice of a foreclosure sale in California); Mian. Star. §§ 580.03 & 580.23 (requiring at
least six weeks of published notice and four weeks of notice following service in a manner that
would satisfy service of a summons and complaint before a foreclosure sale can be held in
Minnesota, and six months to redeem the loan post~sale). Finally, both the balance of hardships
and public policy considerations weigh heavily in Ameriquest’s favor since, among other things,
the relief Plaintiffs seek will only serve to confuse borrowers as to what relief they may be
entitled

As noted above, the foregoing is only a short summary of the defects in the Motions that
are apparent to Arneriquest upon a cursory review of the pleadings The foregoing is not
intended, nor should it be construed, to be a formal opposition to the l\/lotion or a complete
statement of Ameriquest’s defenses to the l\/Iotions. As stated above, to the extent that the Court
intends to consider the Motions, Ameriquest respectfully requests an additional 60 days to file
formal oppositions
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B. Other l\/lotions

lt appears from PACER that two motions are pending in the Murphy action1 (l) a motion

by Plaintiffs for leave to amend their complaint; and (2) a Motion by Plaintiffs to compel

discovery For the reasons set forth above, these matters also should be held in abeyance until

the Panel rules on whether the potential “tag-along” cases should be included in this MDL

proceeding and the Court determines whether or not to coordinate discovery among all pending

CB.SCS.

DATED: February l, 2006

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Respectfully submitted,

BUCHALTER NEMER
A Professional Corporation

By: /s/ Bernard E. LeSage

Atrome'ysfor Defendaars Amert`quest Mortgage
Company, Ameriquest Capital Corporarion and
Argent Mortgage Company

Beruard E. LeSage (California Bar No. 61870)
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EXHIBIT 1

_Case: 1:_05-cV-O709750ument #: 23 Filed: 02/01/06 P.lO of 38 Page|D #:271

UNITED STATES OF AMERICA
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CHAIRMAN: MEMBERS: _ DIRECT REPLY TO:
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Decernber 13, 2005
TO INVOLVED COUNSEL
Re: MDL-l'?l§ -- In re Ameriquest Mortgage Co. Mortgage lending Practices litigation
(See Attaclied Schedule A of Order)

Dear Counsel:

l am enclosing a copy of a Panel transfer order filed today in the above-captioned matter

The Rules of Procedure of the Judicial Paael on Multidistrict Litigation, 199 F.R.D. 425 (2001), and
specifically, Rules l.f , 7.4 and 7.5, refer to "tag-along“ actions Please familiarize yourself with these Rules for
your future reference With regard to Rule 7.5, you need only provide this office With a copy of the complaint
which you feel qualifies as a "tag-aiong" action and informally request that our "tag-along" procedures be uti}ized

to transfer the action to the transferee district Ifyoo have any questions regarding procedures used by the Panel,
please telephone this office

 

Very truly,

Michael J. Becl<
Clerk of the Panel

`L 3
eputy Clerk / `

 

Er).closure

JPML Form 35

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DOCKETNO. 1 715
BEFORE THE JUDICIAL PANEL ON MUL TIDISTRICT LITIGA TION

IN RE AMERIQUEST MORTGAGE CO. MORTGAGE LENDING
PRACTICES LITIG'ATION

BEFORE WM TERRELL HODGES, CHAIRMAN, JOHN F. KEENAN, D.
LOWELL JENSEN, J. FREDERICK MOTZ, ROBERT L. MILLER, JR.,
KATHR YNH. VRA TIL AND DA VID R. HANSEM JUDGES OF THE PANEL

TRANSFER ORDER

This litigation currently consists of one action each in the Central District of California,
Northern District of California, Middle District of Flon`da, District of Massacliusetts and Soethern
District of New York as listed on the attached Schednle A.1 Before the Panel is a motion, pursuant to
28 U.S.C. § 1407, brought by plaintiffs in the Southern District of New Yorlr action for coordinated or
consolidated pretrial proceedings of these actions in the Central District of California. No plaintiff
opposes the motion Plaintiff in the Central District of California action initially opposed, but now
supports, the motion for transfer to that district, along with plaintiffs in a potential tag»along action
pending there2 Plaintiffs in the Nor'thern District of California action support the motioii; if the Panel
does not order centralization in the Central District ofCalifornia, these plaintiffs support transfer to any
centrally located district with the resources to handle this litigation Defendants Arneriquest Mortgage
Co., Arneriquest Capital Corp. and Argent Mortgage Co. (collectively Ameriquest) oppose the motion

On the basis of the papers filed and hearing Session held, the Panel finds that these five actions
involve common questions of fact, and that centralization under Section 1407 in the Northern District
of Illinois will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation All five actions before the Panel concern allegedly predatory lending
practices by Arneriquest l\/fortgage Co., or a related entity, in soliciting and closing residential mortgage

 

§ Four additional actions are pending two apiece in the Central District of California and Northern District

of Illinois, and one related action each is in the Middle District of Florida and District of Minnesota. 'I‘hese
actions and any other related actions will be treated as potential tag~along actions See Rules 14 and 7.5,
R.P.I.P.M.L., 199 F.R.l). 425, 435»36 (2001).

2 Plaintiffs in one Northern District of lllinois related action initially opposed the motion as well, but
Withdrew their response because moving plaintiffs submitted a pleading expressly stating that they do not seek
transfer of that action

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transactions; among other things, plaintiffs allege that Arneriquest failed to disclose material terms and
engaged in so-called bait~and-switch tactics. Centralization under Section 1407 is necessary in order
to eliminate duplicative discovery; prevent inconsistent pretrial rulings, including those With respect
to class certification; and conserve the resources of the parties, their counsel and the judiciary

Arneriquest opposes the motion, in part, because plaintiffs seek redress under different legal
theories and purport to represent varying putative classes We find these contentions unpersuasive
Transfer under Section 1407 does not require a complete identity, or even maj ority, of common factual
issues as a prerequisite to transfer and has the salutary effect of placing all actions in this docket before
a single judge Who can formulate a pretrial program that allows discovery With respect to any individual
issues to proceed concurrently with discovery on common issues. See, e.g., fn re Insurance Brokerage
AnritmsrLftigarion, 360 F.Supp. 2d 137 l (l.P.M.L. 2005). lndeed, the transferee court can employ any
number of pretrial techniques, such as establishing separate discovery and/or motion tracks, to manage
this litigation efficiently and to ensure that pretrial proceedings Will be conducted in a manner leading
to the just and expeditious resolution of all actions

As suggested by the moving plaintiffs, the Panel initially considered transferring this litigation
to the Central District of Califorriia; however, the judge assigned to the constituent action pending in
that district expressed reluctance in light of her current caseload. The Panel has thus determined that
the Northern l)istrict of lllinois is an appropriate transferee district for this litigation Two actions
involving the lending practices of Ameriquest are pending in this district Also, this geographically
central district will be a convenient location for a litigation already nationwide in scope.

lT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A are transferred to the Northern District of Illinois and, With the consent of that court,
assigned to the Honorable Marvin E. Aspen for coordinated or consolidated pretrial proceedings in that
district

FOR THE PANEL:

4/”§7-9.)\/-»¢.¢;64%9,1,

Wm. l`errell Hodges
Chairnian

 

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SCHEDULE A

MDL-l'? 15 -- In re Ameriquest Mortgaae Co. Morteaze Lendina Practices Liti;~zat:ion

Central District of California

Adolph Peter Kurt Burggrajj“v. Ameriquest Capz`mf Corp., et al., C.A. No. 2:94»9715

Northem District of Califomia

Nona Knox, et al. v. Amerz`quest Mor£gage Co., et al., C.A. No. 3:05-240

Middle District of Florida

Latonya Willz`ams, et al. v. Amerz`questMortgage Co., C.A. Nc). 8:05-1036

District of Massachusetts

lsabelle M. Murphy, et al. v. Ameriquest Mortgage Co., C.A. NO. 1:04~12651

Southe,m District ofNeW York

Cheryl Wz'lliams, et al. v. Ameriques£ Mor£gage Co., C.A. No. 1:05~6189

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EXHIBIT 2

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Q,`S ~ ILS'“?`,P
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FAX TRANSMI'ITAL SHEET

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§§ fUDICIAL PANEL ON MULTIDISTRICT LITIGA TION
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Thurgood Mazsheli Federal Judieiary Building

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Washington, DC 20002-8(}04

chsite: http://www.jpmf.uscourts.gov

 

 

Telephone: (202) 502-2300 PAX NQ: (202) 502~2883
Date: Febr'uary 1, 2€){}6 Time:
’1`0: Brandon Biook
From: Mecca S. Carte:?, Deputy Cferk
Re: MDL # 1715
Nutes: I was unable to determine Whether you we:e charged initiz,zll;~,’l 'I`herefore} as a

courtesy you wifl not be charged for this Case listing Report. If you have any
questions, please feel free to give me a call

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Thank You.

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EXHIBIT 3

Case: 1:05-eV-O7093)ocument #: 23 Filed: 02/01/06 Pa%ZO of 38 Page|D #:281

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Direct Dial Number: (213] 891-5239

Direct Facsimi!e Number: (213) 630~5715
E-Mail Address: blesage@buchalter.com

ramey 23, 2006

VIA FEDERAL EXPRESS

Clerk of the Panel

indicial Panel on Multidistriet Litigation
Thurgood Marshall Federal Judiciary Building
One Coiumbus Circle, N.E.

Room G-255, North Lobby

Washington, D.C. 20002-8004

Re: In re Ameriquest Mortgage Co. Mor!gage Lending Practices Litigation
MDL l)ocket No. 1715

Dear Cleric of the Panel:

On or abont Decernber 13, 2005, the .ludicial Panel on Multidistrict litigation (the
“Panel”) issued a ri`ransfc-;:r Order, pursuant to which it granted the motion to transfer pursuant to
28 U.S.C. § l407 (the “Motion"’) filed by plaintiffs in Cheryl Williams and Duvall Naughton v.
Amerz'quesz‘ Mortgage Company, Case No. 05-CV~6189 (S.D. N.Y.) (“Williams”). The Panel
therefore ordered each identified action in the Motion transferred to the United States District
Court for the Northern District of lliinois, The Honorable Marvin E. Aspen presiding (the
“Transferee Court”), for pretrial proceedings '

Defendants Ameriquest Mortgage Cornpany (“Anieriquest Mortgage”), Arneriqnest
Capitai Corporation (‘°Anieriquest Capital”) and Argent Mortgage Company (“Argent”)
(collective]y, “Defendants”) opposed the Motion, and by this letter, recontinn that they do not
waive, but rather expressly preserve (for all purposes, including any appeals), all arguments
raised in opposition to the Motion and all objections to the 'l`ransfer Order. 'i`hese arguments and
objections include, Without iimitation, those based on Federal and State Constitutional grounds,
including but not limited to Due Process and Equal Protection under the law.

Nevertheiess, pursuant to Rules l.t, 7.4 and 7.5 of the Rules of Procedure of the Judiciai
Panel on Multidistrict Litigation (the “Rules”) Defendants are compelled to identify the
following actions as potential “Tag Along” actions as such actions are defined by the Rules.

§.os Angeles - irvine » Phoenix* - San Francisco
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Judicial Panel on Multidistrict Liiigation
lanuary 23, 2006

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Also pursuant to the Rules, copies of the potentia} “Tag A}ong” complaints are enclosed
herewith in foiders labeled with the corresponding numbers for your convenience

}. Mfguel Al'maguer, v. Argent Mortgage Co., et al., United S’€ates District Court for
the Southern District of Florida Miami Division, Case No. OS-CV-Zi 103
(“Almaguer”)

2. Michele D ’Ambrogi, et al., v. Amerz`quest Mortgage Co., United States District
Court for the Eastern District of`Pennsy}vania, Case No. 97CV0442'7
(“Ambrogi ”)

3. Wray Baz'ley, et al. v_ Amerfquesf Mortgage Co., limited States Distriot Coult for
the District of Connecticut, Case No- 305€\/452 CFD (“Bailey”).

4. Keizneth Bmwn, er al. v. Ameriquesf Mortgage Co., et al., United States Distric'i
Court for the Nor“shem Distriet of Hlinois Eastem Division, Case No. OS»CV-
051 1 1 (“Brown ”).

5. Dorothy Brown, v. Ameriquest Morzgage Co., et al., United States District Court
for the Northem District of H]inois Eastern Division, Case No. 05»€\/-{)4723
(“Brown ”)

6. Jacqueline Buckner v. Ameriques£ Morrgage Co., et al., United States Disirict
Court for the Northem Distn'ct of Illinois Eastern Divisiora, Case No. 05(`,`»\/~6898
(“Buckner’)

7. Joseph F. Creamer, III, v. Ameriquest Morfgage Co., Unifed States District Court
for the Distn`ct of Rhode lsiand, Case No. OS-CV-»OGSBB ML I)LM (“Creamer”)

8. Richam’ Darzeau v. Ameriquest Mortgage Co., United States Dism`et Cour£ for the
Disin`ct of Rhode leland, Case No. GS-CV~SES ”{` ("Daneau ”)

9. Ti'wmas B. Doherty, et al., v. Town & Country Credil Corp., United States Distric'£
Court for the Fourth ludicial District ofthe State of Minnesota, Case No. OS-CV»
00589 JRT-J.TG (“Doherty ”)

10. Edward Doolittle, et al., v. Ameriquest Mortgage Co., et al., United States I)istrict
Cour't for the Northern District of Ii}inois Eastem Division, Case No. OS»CV-
05033 (“Doolittle”)

11. Maria S. Eyre v. Ameriquesz Mortgage Co., United States District Court for the
District of Rhode lsiand, Case No. 05~CV-0529 ML-DLM (“Eyre ")

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12. Karleen M. Frost v. Amerz`quesz Mortgage Co., i}nited States District Court for
the District of Rhode lsland, Case No. 05-CV-00532 S-DLM (“Frosr ”)
33. Marie Furgeson, et al., v. Arnerz'quest Mortgage Co., et al., United'StateS Distriet
Court for the Northern District of Iliinois Eas_tem Divisiou, Case No. 04-CV-
0762'7 (“Furgeson ”)
14. Jeanette Stokes Godwin, v. Argent Mor£gage Co., er al., United States District
Cour£ for the Eastern District of Pennsylvania, Case No. 05-CV-61 12 (“Goa'win ”)
15. Michae! Ho!zmeister, v. Ameriquest Mortgage Co., et al., United States District
Court for the Northern District of Iliinois Eastern Division, Case No. 05-~CVm
05911 (“Holzmeisrer”)
16. Thomas Hubbard, v. Ameriquest Mortgage Co., et al., United States District
Cour€ for the Northem District of lllinois Eastem Division, Case No. OS-CV-
00339 (“Hubbard ”)
17. Nelson Jimenez, et al., v_ Ameriquest Morzgage Co., et al., Unifed States District
Court for the Northem District of Iilz`nois Eastem Division, Case No. 05-CV-
01009 (“Jimenez ’j
18. Shz'rley Jones, v. Ameriquest Mortgage Co., el al., United States Disv“ict Court for
the Nortiiern Distn`ct of fliinois Eastern Division, Case No. 05~CV~00432
(“Jones ”)
19. Deboifah Juz'llemt, v. Amerique.sr Morrgage Co., el al., United States District
Court for the Central Distn`ct of Caiifomia Case No. SACVOS*I 1 I'l DOC (RNBX)
(“Juz`llerat ”)
20. Karen M_ Kahrer, v. Ameriquest Mortgage Co., United States Distriot Court for
the Westem District of Pennsyivania, Case No. 05~CV0391 (“Kahrer”)
2}. Earf E. Key, v. Ameriquesr Mortgage Co., et al., United States District Court for
the Northem District of Illinois Eastem Division, Case No. 05-€\/'~107'/' ("Key”)
22. Renee O. LeClerc, v. Ameriquest Morrgage Co., United States District Court for
the District Of Rhode IS]emd, Case No. 05CV-00538 S»LDA (“LeClerc ”)
23. James Lemmons, v. Ameriquesf Morzgage Co., et al., United States Dis'irict Court

for the Northern District of lilinois Eastern Division, Case No. 05~€\/~04709
("Lemmon§ ”)

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Roger R. Luedtke, et al., v. Ameriquesr Morrgage Co., et al., United States District
Court for the Northern Distriet of IHinois Eastem Division, Case No. OS-CV-
04644 ("Luea’rke ”)

Richard A. Madrazo, v. Ameriquest Morfgage Co., United States Distriet Court
for the Eastem District ofNeW York, Case No. 05-CV~03987 BRK-MLO
("Madrazo ”)

Juan Medina, et al. v. Argem Mortgage Company, er al., United States District
Court for the Northem Distriet of California Case San Jose Division, Case No.,
05-02905 RS (“Medina ”')

Lz`llz`an Melena’ez,, v. Ameriquest Morrgage Co., United States District Court for
the District of Rhode leland, Case No. 05 CV-153 S-LDA (“Melendez ”)

Joseph A. Mikowski, et al., v. Ameriquesf Mortgage Co., et al., United States
District Court for the Northern District of Indiana Hammond Division, Case No.
05-CV-004ll PPS~PRC (“Mz`kows!a'”)

Deloz`.s Milfs v. Ameriquest Morrgage Co., et al_, United States Distn'ct Court for
the Northem District of Illinois Eastem Division, Case No. 05-CV»039'76
("Mz'lls ”)

Valerz'e Lund Mitchell, er al., v. Ameriquesf Morfgage Co.,' et al., United States
Disirict Court for the Southem Diso~ict of Akabama Southem Division, Case No.
OS~CV*OOO']S KD-B (“Mitchell ”)

Maria Morrison, et al. v. Ameriquest Mortgage Co., et al., United States District
Cour£ for the Central District of Califomia Case No. CV05~4982 SJO (FMOX)
(“Morrison”).

Charles F. Parisi v_ Ameriquest Mortgage Co., United States Distn`ct Court for
the District of Rhode leland, CaSe No. 05-CV~00530 T-LDA (“Parisi ”)

James Payne v. Ameriquest Mor!gage Co., et al., United States Distriei Court for
the Northem District of Iliinois Eastem Division, Case No. 05-CV“05024
(“Payne ')

Ea'dy G. Pena v. Ameriquest Mortgage Co., United States District Co"urt for the
District of Rhode IS}and, Case No. 05-CV~00527 S (“Pena ”)

Case: 1:05-_CV-O709 Document #: 23 Filed: 02/01/06 P3524 of 38 Page|D #:285

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Judy Perry v. Ameriquest Mortgage Co., et al., United States Dist:rict Court for
the Nozthern Distn`ct of lllinois Eas£em Division, Case No. 05~€\/-06172
(“Perr'y")

Wflliam Pintsak, et al., v. Ameriquest Mortgage CO., et al., United States District
Court for the Northem Distriet of Riinois Eastem Division, Case No. 05-CV~
05035 (“Pintsak”)

Spyros J. Polydoros, et al., v. Ameriquest Mortgage Co., et dl., United States
Dist;rict Com‘t for the Northem District of fllinois Eastern Division, Case No. 05-
CV-06517 (“Polydoros ”)

John Darious Powell, et al., v. Amerz`quesz Mortgage Co., et al., United Stetes
Distriet Coun for the Eastern Distriet of Louisiana, Case No. 05~CV-03067 MVL-
JCW ("Powell ”)

Rz`ckie Ann Reese v. Ameriguest Morzgage Co., et al., United States Dis`hict Court
for the Middle District of Tennessee, Case No. 3-05 CV-0793 (“Reese ”)

Scotr T. Reuzer, er al., v. Ameriquest Morrgage Co., et al., United States Distriet
Coun for the Eastem I)istrict of Pennsyivania, Case No. 05~CV-1096 (“Reuter ”)

Johnnie Ross,, et al., v. Ameriquesr Morzgage Co., et al., In the Superior Court of
Dougherty County State of Georgia, Case No_ 05~CV~1466-3 ("Ross ”)

Katrina D. Fum’y-Rofh, er al., v. Ameriquesz Mortgage Co., er al., United States
Distzict Court for the Southem Distn`ct of indiana Indianapolis Division, Case No.
05-CV»01618 DFH-VSS ("Ro_th ”)

Sergio A. Salazar, et al., v. Ameriquest Mortgage Co., et al., United States
Distn`ei Court for the Northem Dist:'ict of Illinois Eastem Division, Case No. 05-
CV-04i62 (“Salazar ”)

Pegi Saunders, et al., v. Ameriquest Mortgage Co., et al., United States District
Court for the Northern District of Ohio, Case No. OS-CV~OI 126 CAB
(“Saunder.$' ")

Jerome L. Sievers, et al., v. Ameriquesz Mortgage Co., et al., United States
Distn'ct Court District of Connecticut, Case No. 05-CV~01296 RNC (“Sievers”)

Rickara’ J. Silvz`a v. Ameriquest Morzgage Co., United States District Court for the
District of Rhode fsiand, Case No. 05 CV-0532 ML ("Silv£a ”)

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Erz'c sz`rh, et al., v. Ameriqueerorfgage Co., et al., United States Dism`ct Coth
for the Northern District of Illinois Eastem Division, Case No. 05-CV-00648
(“sz'rh ”)

Werzer Surin, v. Argem Mortgage Co., et al., United States Distn`ct Com't District
of Connecticut (New Haven), Case No. 05-CV-001653 RNC (“Surin”)

Terry Talley, et al., v. Ameriquest Mortgage Co., et al., Unitod States Distr'ict
Court for the Northem District of Illinois Eastern Division, Case No. 05»CV-
01080 ("Talfey ')

Gz`lbert Treadwell, et al., v. Ameriquest Mortgage Co., er al., United States
District Court for the Northem Distn'ct of Illinois Eastem I)ivision, Case No. 05-
CV~01078 (“Treadwell ”)

Sleven H. Ungar v. Amerz'quesr Mortgage Co,, United States District Court for the
Middle District of Florida ’l`ampa Division, Case No. 05 CV»01849 JDW-TBM
(“Ungar”)

Rochefle Washingzon, er al., v. Ameriquest Mortgage Co., et al., United States
Distr£ct Court for the Northern District of Illinois Eastern Division, Case No. 05~
CV-0100'7 (“Washington ")

Bretz Wertepny, et al., v. Ameriquest Mortgage Co,, et al., Um`ted Statcs I)istrict
Court for the Northem l)istrict of Illinois Eastern Division, Case No. 05-CV»
0]402 (“Wertepny ”)

Ramona Zarate, v. Ameriquesr Mortgage Co., el al., United States District CouIt
for the Northem District of lilinois Eastern Division, Case No. 05"CV~04696
(“Zarate ”)

Finally, Defendants are still in the process of identifying additional potential “Tag
Along” actions and will Supplement this letter Shortly. AS always, please feel free to contact me
with any questions.

Enclosures

Very truly yours,

BUCHALTER NEMER
A Professional Corporation

Bemard E. LeSage

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EXHIBIT 4

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State Attorneys General
State Financial Regulators

News release -- for release 10 a.m. Pacific time, Monday, Jannary 23, 2006
(Sec end of release for contact persons.)

Ameriquest Will Pay $325 Million
and Reform its Lending Practices
to Resolve States’ Investigations

(Los Angeles) ~» State Attotneys General and financial regulators announced today that
Anieriqnest Mortgage Company, the nation’s largest sub~prirne lender, has agreed to pay 3295
million to consumers and make sweeping reforms of practices that states alleged amounted to
predatory lending Ameriquest also will pay a total of $30 million to the 49 states and l).C. that are
participating in 1the settlement agreement for costs of the investigation and consumer education and

enforcement

’l`lxe states alleged that Ameriquest engaged in unfair and deceptive practices that harmed
consumers State officials called the settlement a landmark agreement that will change
Ameriquest’s practices, and will set standards the states expect other mortgage lenders to follow

’l`lie 3325 million payment ranks as the seeond»largest state or federal consumer protection
settlement in li.istory, after the 3484 million predatory lending agreement reached in 2002 between
most states and Household Finance Corporation,

The states alleged that Ameriquest employees deceived consumers as part of high-pressure
tactics to sell mortgage ret`inances4 ’l§`hey said high-pressure sales tactics Were used to reach desired
sales levels and high monthly individual sales quotas

Attorney Generals, financial regulators and Califomia district attorneys initiated their
investigation after receiving hundreds of complaints from An'leriqaest customers across the country
Tlie ensuing investigation uncovered consumer protection problems in areas governed by the
settlement Tlre alleged improper practices included inadequate disclosure of prepayment

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penalties discount points and other loan tenns; unsolicited refinancing offers that did not adequately
disclose prepayment penalties; improperly influencing and accepting inflated appraisals and
encouraging borrowers to give inaccurate income or employment information to obtain loans

Statc officials said they Were confident Ameriquest would fully comply with their laws and
regulations in the future1 noting that Ameriquest already has instituted many changes and that the
States and a monitor will lie matching company practices carefully

ln the agreement, Ameriqnest denies all the allegations raised by the states, but the company
agreed to he bound by a battery ol`new standards to prevent what the states alleged were unfair and
deceptive practices ".['he reforms include: changing how appraisals are handled; providing full
disclosure regarding interest rates, discount points, prepayment penalties, and other loan or
refinancing terms; and not paying sales personnel incentives to include prepayment penalties or any
other fees or charges in the mortgages

The settlement with the states includes ACC Capital Holding Corporation (thc holding
company), and its subsidiaries Arneriqnest Mortgagc Cornpany, Town & Coontry Credit
Corporation, and AMC Mortgage Services, lnc., formerly known as Bedt`ord Horne loans 'l“he
company is based in Orange, California, near Los Angeles.

Forty*nine states are parties to the settlementa with both Attorneys General and financial
regulators joining the settlement (Ameriqoest was not licensed in Virginia and did no business
there, so Virginia is not party to the agreement.}

Astrononiical growth over the last few years has made Aineriquest the nation’s largest sub-
prirne mortgage lender.

Ameriqucst primarily makes refinancing loans to existing homeowners who are hoping to
consolidate credit card and other debt into their new home mortgage and come out ahead with
overall monthly savings Borrowers who don’t have the best credit ratings may tom to suopnme
loans, which often have higher interest rates and other costs

”l`lie state officials noted that questionable practices in the sub~prirne industry can be Very
harmful to ordinary consumers who often have little or no economic cushion and already may be
holding down two or three jobs

Remarlrs of State Attorneys General and Financial Regulator‘s:

California Attorney General Bill Loclq/er hosted a news conference in los Angeles Monday
to announce the landmark agreement He was joined by iowa Attorney General Tom Mi ller, leader
of the group of states that investigated and negotiated with Ameriquest, and by Washington Atty.
Gen. Rob McKcnna; Barbara Kcnt, l`.`}irector ofConsinner Affairs and Finaocial Products for the NY
State De;)t. of Banking; louisiana Atty. Gen. Charles Foti; Arisona Atty. Gen. Terxy Goddard;
Wisconsin Atty. Gen Peg Laetenschlager; Alan Weinger, Acting Deputy Cornrnissioner for

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Hni`orcernent of the California Dept. of Corporations; and Ciiarles Cross, l)irector of Consoiner
Servioe of the Wasnington Dept. of Financial Institations.

Iowa Attornei; General Torn Milier said: “We uncovered serious problems at Ameriquest
that unfairly and substantially affected their borrowers However, now we have reached an
agreement that will return hundreds of millions of dollars to consumers, and - even more important
m it will reform the company’s practices ledeed, I believe this agreement will fundamentally
change the company I am grateful that Ameriquest has reached this agreement with us. This
agreement also Wili set standards we expect others to follow in the mortgage lending industry.”

Ca!ifornia Attorney General Bill Locl<ver said: "Our economic system cannot function
properly unless businesses treat consumers fairly and honestly Unfortrmately, our investigation

found that Ameriquest’s prior lending practices too often violated those principles and harmed
families ".f.`liis settlement provides a good measure of justice by compensating victims of these
previous practices and helping to ensure there are no victims in the future I’m pleased Arneriquest
has entered this agreement "

Washing;on. Attorney General Rob McKenna said: "Ameriquest can be commended for

coming to the table to negotiate a pact that should transform the company into a model for other
lenders Arneriquest's prominence among mortgage providers makes this a particuiarly important
case for establishing tough, new standards for the horne financing industry Fioancial companies and
consumer advocates should seize the opportunity to educate horne buyers about ethical lending

practices ”

New Yorl< State Banking Suoerintendent Dian_a L. Tavlor said: "This agreement is the
culmination of a tremendous joint eii`ort involving state regulators and attorneys general from 49
states lt‘s a great example of what We can accomplish working together and it sends a strong
message to the industry -~ consumer protection is a primary concern and we, as regulators are very
serious about being effective and judicious natchdogs over the mortgage lending sector 0n behalf
of the State ot`New York, l want to thank the negotiating team, in particular Barbara Kent from my
department and the New York State Attorney Gr-.:neral1 for an excellent job in cementing this

agreement."

Terms of the Settlerneot and lnjanctive Relief:

About half the 119-page agreement with the states spells out “injrmctive relief” »- wide
ranging reforms of the company’s lending practices to resolve the concerns of the states

Under the agreement, Arneriquest is required to:
' Provide the same interest rates and discount points for similarly-situated consumers

* Not pay series personnel incentives to include prepayment penalties or any other fees or
charges in the mortgages

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' Provide full disciosure regarding interest rates, discount points, prepayment penaities, and
other loan or refinancing terms

v Overhaul its appraisal practices by removing branch offices and sales personnel from the
appraiser selection process, instituting an automated system to select appraisers from panels
created in each state, limiting the company’s ability to get second opinions on appraisals5
and prohibiting Amexiquest employees from influencing appraisals

¢ Not encourage prospective borrowers to misstate income sources or income levels

' Provide accurate, good faith estimates

¢ Limit prepayment penalty perioc§s on variable rate mortgages

¢ Not engage in refinancing solicitations during the first 24 months of a ioan, unless the

borrower is considering refinancing
' Use independent ioaa ciosers.
* Adopt policies to protect whistleblowch and faciiitate reporting of improper conduct

Ameriqucst already has impiemented several ofthe requirements For example, meriquest
began providing the same interest rates and discount points for simiiariy-»situated consumers before
the States’ investigation began

'i`he agreement also provides for appointment of an independent monitor to oversee
Amcriquest’s compliance with the settlement terms 'I`l:ie monitor will have broad authority to
examine Arnexiquest’s lending operations, including access to documeots and personnei. 'I“he
monitor Wiii submit periodic compliance reports to the Attorneys General during the next five years
Ameriquest will pay the monitor‘s costs

Payments by Ameriquest:

The company Wili pay $325 miiiion- $295 miliion for consumer rcstitutiori, and 330 million
to settling states to cover their costs and fund consumer education and consumer protection
enforcement programs Consumcrs do not need to take any action at this point to pursue recoveries
~ they Wili be contacted later by states or the settlement administrator in the months ahead as
specific recover terms and pians are determined

Gfthe 5295 million iri restitution, $175 million will be distributed iri a nationwide claims
process to eligibic Anicriquest customers who obtained mortgages from January I, l999, through
April i, 2003, with payments based on a formula set by the settling states

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Another 3120 million in restitution will be allocated to the settling states based on the
percentage of total Ameriquest loans (measured in dollars) held by consumers in each state The
funds Wili,be used to compensate Ameriquest customers who obtained mortgages between January
i, i999, and December 31, 2905. Each settling state will determine Whicli customers in its
jurisdiction are eligible to receive payments from this restitution fund

'i`he States’ Investiga€ion:

iowa Attorney Generei Tom Miliez' led the group of states The group of states that
negotiated the agreement are: the attorney general oftices of lowa, Caiifomia, Wasliington, Now
York, and llliriois, and the New York State }Dept. of Banking_ '£`he executive committee of states
leading the matter included those states and also Minnesota AG, Arizona AG, Washington Dept. of
Financial lostitutions, Texas AGz Massachusetts AG, New Mexico AG, Nebraske Banking,
Cozmectieut AG, New Hampshire Banking, and the Florida OHice of Financiai Regulatiori. The
Mizmesota Attorney General’s Oi‘lice played a strong early role in the matter, and Minnesota Asst.
A.G. Prentiss Cox ied the group initiaily. Since lone 2005, lowe Assistant A.G. Patn'ck Madigaxi
has led the group of assistant attorneys general and financed regulators who investigated and
negotiated with Ameriquest-

Milier said Ameriquest was folthcoming in providing documents and other information
during the investigation and that the states and Ameriquest Worl~:ed extraordinarin kong hours to
reach the agreement

The settlement was signed by officials of49 states and the Distn'ct of Columbia, and a group
of six Calit`omia District Attorneys_ (Virginia is not a party because Ameriquest did no business
there-) Attorneys General for 49 states andDC signed the agreement, as did financial regulators for
45 states and DC. (A few financial reguiators did not participate because they do not have
jurisdiction, or no such regulator exists.)

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Contagt §§rsons:

Califomia Attorney General’s Office: Tom Dressiat, 916~324-550€)
Iowa Attomey General’s Cffioe: Bob Brammer, 515-281»6699
Washington Attoniey General’s Oflice: Kristiri Alcxander, 206'464-6432

New York State Dept. of Banking; Barbara Kent, 212-709~3503_

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EXHIBIT 5

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remedy against the Settling States for any violation of this fifteen (15) day prior notice
requirement is limited to seeking return of the documents from the private party.

Nothing in this Settlernent Agreement limits the right of a Settling State to conduct
investigations or examinations independent of the work of the Monitor.

I. Retention of Documents. 'I`he Alneriquest Partics shall generate, retain and
make readiiy available to any Settling Staie for inspection, upon reasonable notice and without
the necessity of a subpoena or other legal process, all material records and documents reasonably
necessary to document compliance with this Settlernent Agreernent. The Arneriquest Parties
shall maintain these records and documents for a minimum of five (5) years after the Monitor’s
finai Report.

VII. RELEASES

A. Release from Borrowers. Each Borrower who receives a payment from the
Settlernent Fund shall first execute the following release (which shall be provided to Borrowers
in both Engiish and Spanish):

“‘We’ and ‘our’ mean the Borrowers under the Loan account number(s) listed above If
there is only one Borrower, these terms refer to that single Borrower. 'I`he ‘Ameriqnest Parties’
' are Arneriquest Mortgage Cornpany, 'I`own and Country Credit Corporation, Ameriquest
Mortgage Services, Inc., i`onneriy known as Bedford Horne Loans, ACC Capital Holdings
Corporation and their respective (i) predecessors, past, present and future direct and indirect
parents,' owners, subsidiaries, affiliated and other related persons or entities of any kind (be they
corporations, partnerships, trusts, individuals), including the successors and assigns of any of the
foregoing, and (ii) all past, present and future owners, employecs, oi`ficers, agents, directors,
insurers, and any other representatives of all the foregoing including, for natural persons, both in
their officiai and individual capacities -

By our si gnatures(s) below we acknowledge that we have read the following release and

are bound by its tenns. in consideration for the restitution payment we are to receive, we release

 

the Ameriquest Parties from all civil claims, causes of action, any other right to obtain any type

 

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of monetary damages (including punitive damages), expenses, attorneys’ and'other fees,

 

rescission, restitution or any other remedies of whatever kind at law or in equity, in contract, in

 

tort (inciuding, but not limited to, personal injury and emotional distress), arising under any

 

 

administrative, arbitral or other judicial or non-judicial proceeding, whether known or unknown,

 

and whether or not alleged, threatened or asserted by us or by any other person or entity on our

behalf, including any currently pending or future purported or certified class action in which I arn

 

now or may hereafter become a class member, that arise from or are related to‘the following

 

lending practices engaged in by the Ameriquest Parties, during the period from .`fanuary 1, 1999
through Decernber 3 l , 2005, in connection with the Loan account numbers listed above:

All .representations, misrepresentations, disclosures or any other acts, events, facts,
transactions, occurrences, omissions or conduct, whether n oral, written or otherwise, by the
Arneriquest Parties, arisingout of, in connection with or relating to any ofthe following:

l. Loan types and terms, including discount points, interest rates, origination-
rotated fees, monthly payment amounts, terms of adjustable rate and fixed rate mortgages
and prepayment penalties

2. Written disclosures, including the Good Faith Estimate, other documents
required to be provided to a Potential Borrower by any law or otherwise provided by an
Ameriquest Party.

3. The Borrower benefits of obtaining a loan from an Arneriquest Party or

from a repeat refinancing with an Arneriquest P.arty.

4. Coordination with debt collectors

5. The timely completion ot` the underwriting functions and funding of a
loan

6. ' Closing of a loan.

7. Appraisals.

8. Stated income loans.

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9. Disclosures to non-English speaking Borrowers and Potential Borrowers.

Notwithstanding this release, we may affirmatively or defensively assert any claim or
defense that we have with respect to rny loan with an Arneriquest Party in response to a judicial
or threatened non-judicial foreclosure, including those related to the lending practices listed in
this release.” l

ln those States with statutory or common law provisions requiring specific language to
effectively waive known or unknown claims, the language of the release from the Borrower set
forth above shail be modified to include the specific language required by the statutory or
common law provisions

B. n Release from the State. The relief to be provided by ACCCH and the
Arneriquest Parties resolves all civil and administrative investigations and proceedings, if any,
including those that are pending or closed, that have been or could have been brought by the
Settling States against the Arneriquest Parties, as defined in the “Release from Borrowers” set
forth above, based upon the Lending Practices with respect to the Covered Transactions. This.
release is effective so long as restitution and other payments required under the terms of this
Settlernent Agreernent are timely made. However, this release by the Settling States does not
include a waiver or release of any civil or administrative claims, regulatory matters, or causes of
action relating to any practices, acts or omissions by any Arneriqnest Party that are not based
upon the Lending Practices with respect to the Covered 'l`ransactions.

VIII. MISCELLANEOUS

A. State Authori§y. ”l`he relief provided in this Settlement A-greement, including ali
payments by ACCCH or by the Ameriquest Parties, to the Settlernent and or any accounts
established by this Settlernent Agreernent, is in response to and in compliance with each Settling
State’s authority to regulate ACCCH and the Amen`quest Parties and each of the Settling 'States’

police powers

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CERTIFICATE OF SERVICE
The undersigned hereby certifies under penalty of perjury under the laws of the State of
illinois that, on February l, 2006, she caused to be served on the person(s) listed below in the
manner shown:

DEFENDANTS' STA'l`US CONFERENCE STATEMENT

SEE ATTACHED SERVICE LlS'l`

|:| ounce states tvtall, iam Cias,s
Via Federal Express
m By Messenger

By Pacsiinile

Dated at Los Angeles, Calii`ornia, this lst day of February, 2006.

fs! Eiizabeth Villalobos
Elizabeth Villalobos

BN 77i938vl

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MDL SERVICE LIST

IN RE: AMERIQUEST MORTGAGE PRACTICES LITIGATION

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MDL SERVICE LIST

IN RE: AMERIQUEST MORTGAGE PRAC'I`ICES LITIGATI(}N

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